Case 3:20-cv-02676-FLW-TJB Document 14 Filed 08/25/20 Page 1 of 2 PageID: 198




THE ATKIN FIRM, LLC
Formed in the State of New Jersey
By: John C. Atkin, Esq.
55 Madison Avenue, Suite 400
Morristown, NJ 07960
Tel: (973) 314-8010 / Fax: (833) 693-1201
JAtkin@AtkinFirm.com
Attorneys for Plaintiff Strike 3 Holdings, LLC

                     UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEW JERSEY


 STRIKE 3 HOLDINGS, LLC,
                                              Case No. 3:20-cv-02676-FLW-TJB
                     Plaintiff,
                                                            ORDER
       v.

 JOHN DOE subscriber assigned IP
 address 68.83.56.212,

                     Defendant.


      THIS MATTER having been opened to the Court by John C. Atkin, Esq., on

behalf of Plaintiff Strike 3 Holdings, LLC (“Plaintiff”), on a Motion for an extension

of time within in which to effectuate service of process in this matter, pursuant to

Federal Rule of Civil Procedure 4(m); it appearing that Defendant John Doe

subscriber assigned IP address 68.83.56.212 (“Defendant”) has not yet been served

in this matter, but has consented to the entry of this Order through counsel; the Court
Case 3:20-cv-02676-FLW-TJB Document 14 Filed 08/25/20 Page 2 of 2 PageID: 199




having considered Plaintiff’s written submissions in connection with the motion

pursuant to Federal Rule of Civil Procedure 78, and for good cause shown,

      IT IS on this _25th____ day of ____August________, 2020,

      ORDERED that Plaintiff’s motion [ECF No. 13] is GRANTED; and

      IT IS FURTHER ORDERED that Plaintiff’s time to effectuate service of

process on Defendant is extended to October 10, 2020.


                               By:   _s/Tonianne J. Bongiovanni_______________
                                     The Honorable Tonianne J. Bongiovanni
                                     United States Magistrate Judge


     Opposed
X     Unopposed




             The Clerk of the Court is directed to terminate Docket Entry No. 13.




                                        2
